Case 1:20-cv-01024-DCJ-JPM Document 13 Filed 10/19/20 Page 1 of 1 PageID #: 124




                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF LOUISIANA
                         ALEXANDRIA DIVISION

  SAURABH KARKI, Petitioner              CIVIL DOCKET NO. 1:20-CV-01024-P

  VERSUS                                 JUDGE DAVID C. JOSEPH

  WARDEN, Respondent                     MAGISTRATE JUDGE JOSEPH H.L.
                                         PEREZ-MONTES



                                 JUDGMENT

       For the reasons stated in the Report and Recommendation of the Magistrate

 Judge previously filed herein (ECF No. 10), noting the absence of objection thereto,

 and concurring with the Magistrate Judge’s findings under the applicable law;

       IT IS ORDERED that Petitioner’s Motion for Temporary Restraining Order

 (ECF No. 1) enjoining Respondents from transferring him from LaSalle Correctional

 Center while his § 2241 Petition is pending is DENIED.

       THUS DONE AND SIGNED in Chambers, this 19th day of October, 2020.



                                       _____________________________________
                                       DAVID C. JOSEPH
                                       UNITED STATES DISTRICT JUDGE
